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                                             13   Attorneys for Todd Giometti
       H YDE & S WIG ART, APC

          S AN D IEGO , CA 92 10 8




                                             14                      UNITED STATES DISTRICT COURT
                                             15                    SOUTHERN DISTRICT OF CALIFORNIA

                                             16   Todd Giometti,                              Case No.: '19CV0276 JLS MSB
                                             17                Plaintiff,                     COMPLAINT FOR DAMAGES FOR
                                                                                              VIOLATIONS OF:
                                             18                        v.
                                                                                                  • THE FAIR DEBT
                                             19   Allied Interstate, LLC ,                          COLLECTION PRACTICES
                                                                                                    ACT, 15 U.S.C. § 1692, ET
                                             20                                                     SEQ., AND
                                                                            Defendant.            • THE ROSENTHAL FAIR
                                             21                                                     DEBT COLLECTION
                                                                                                    PRACTICES ACT, CAL. CIV.
                                             22                                                     CODE § 1788, ET SEQ.
                                             23
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                                                  COMPLAINT                              PAGE 1       GIOMETTI V. ALLIED INTERSTATE, LLC
                                                  Case 3:19-cv-00276-JLS-MSB Document 1 Filed 02/07/19 PageID.2 Page 2 of 10



                                             1                                    INTRODUCTION
                                             2    1. The United States Congress has found abundant evidence of the use of abusive,
                                             3       deceptive, and unfair debt collection practices by many debt collectors, and has
                                             4       determined that abusive debt collection practices contribute to the number of
                                             5       personal bankruptcies, to marital instability, to the loss of jobs, and to invasions
                                             6       of individual privacy. Congress wrote the Fair Debt Collection Practices Act, 15
                                             7       U.S.C. § 1692 et seq. (hereinafter “FDCPA”), to eliminate abusive debt
                                             8       collection practices by debt collectors, to insure that those debt collectors who
                                             9       refrain from using abusive debt collection practices are not competitively
                                             10      disadvantaged, and to promote consistent State action to protect consumers
                                             11      against debt collection abuses.
                                             12   2. The California legislature has determined that the banking and credit system and
22 21 C AMINO D EL R IO S OUTH S UITE 10 1




                                             13      grantors of credit to consumers are dependent upon the collection of just and
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                                             14      owing debts and that unfair or deceptive collection practices undermine the
                                             15      public confidence that is essential to the continued functioning of the banking
                                             16      and credit system and sound extensions of credit to consumers. The Legislature
                                             17      has further determined that there is a need to ensure that debt collectors exercise
                                             18      this responsibility with fairness, honesty and due regard for the debtor’s rights
                                             19      and that debt collectors must be prohibited from engaging in unfair or deceptive
                                             20      acts or practices.
                                             21   3. Plaintiff Todd Giometti (“Plaintiff”), through his attorneys brings this Complaint
                                             22      to challenge the actions of Allied Interstate LLC (“Defendant”), with regards to
                                             23      its attempts to unlawfully and abusively collect a debt allegedly owed by
                                             24      Plaintiff in violation of the FDCPA and Rosenthal Fair Debt Collection
                                             25      Practices Act (“RFDCPA”), California Civil Code § 1788, et seq.
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                                             27
                                             28
                                                  COMPLAINT                            PAGE 2         GIOMETTI V. ALLIED INTERSTATE, LLC
                                                  Case 3:19-cv-00276-JLS-MSB Document 1 Filed 02/07/19 PageID.3 Page 3 of 10



                                             1    4. Plaintiff alleges as follows upon personal knowledge and experience. As to all
                                             2       other matters, Plaintiff bases his allegations on information and belief, including
                                             3       investigation conducted by Plaintiff’s attorneys.
                                             4    5. While many violations are described below with specificity, this Complaint
                                             5       alleges violations of the statutes cited in their entirety.
                                             6    6. Unless otherwise stated, Plaintiff alleges that all violations by Defendant were
                                             7       knowing and intentional, and that Defendant did not maintain procedures
                                             8       reasonably adapted to avoid these violations.
                                             9    7. Unless otherwise indicated, the use of Defendant’s name in this Complaint
                                             10      includes all agents, employees, officers, members, directors, heirs, successors,
                                             11      assigns, principals, trustees, sureties, subrogees, representatives, and insurers of
                                             12      the named Defendant.
22 21 C AMINO D EL R IO S OUTH S UITE 10 1




                                             13                                JURISDICTION & VENUE
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                                             14   8. This Court has federal question jurisdiction because this case arises out of
                                             15      violation of federal law: the FDCPA, 15 U.S.C. § 1692, et seq.
                                             16   9. Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, and 28 U.S.C.
                                             17      § 1367 for supplemental state claims.
                                             18   10. Because Defendant conducts business within the State of California, personal
                                             19      jurisdiction is established.
                                             20   11. Venue is proper pursuant to 28 U.S.C. § 1391 for the following reasons (i)
                                             21      Plaintiff resides in the County of San Diego, State of California, which is within
                                             22      this judicial district; (ii) the conduct complained herein occurred within this
                                             23      judicial district; and (iii) Defendant conducted business within this judicial
                                             24      district at all times relevant.
                                             25                                PARTIES & DEFINITIONS
                                             26   12. Plaintiff is a natural person and resident of the State of California whom a debt
                                             27      collector sought to collect an alleged consumer debt, which was alleged to be
                                             28
                                                  COMPLAINT                             PAGE 3           GIOMETTI V. ALLIED INTERSTATE, LLC
                                                  Case 3:19-cv-00276-JLS-MSB Document 1 Filed 02/07/19 PageID.4 Page 4 of 10



                                             1       due and owing from Plaintiff. Additionally, Plaintiff is a “debtor,” as that term is
                                             2       defined by California Civil Code § 1788.2(h) and a “consumer,” as that term is
                                             3       defined by Cal. Civ. Code § 1785.3(b) and 15 U.S.C. § 1692a(3).
                                             4    13. Defendant is, and at all times mentioned herein, was a Minnesota Limited
                                             5       Liability Company that regularly conducts business within the State of
                                             6       California.
                                             7    14. Defendant, in the ordinary course of business, regularly, on behalf of itself and
                                             8       others, engages in “debt collection” as that term is defined by California Civil
                                             9       Code § 1788.2(b). Defendant is, therefore, a “debt collector,” as that term is
                                             10      defined by California Civil Code § 1788.2(c).
                                             11   15. Defendant uses instrumentalities of interstate commerce and the mails in its
                                             12      business, the principal purpose of which is the collection of debts. This includes,
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                                             13      but is not limited to, making phone calls and sending letters to debtors. Thus,
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                                             14      Defendant is a “debt collector” under 15 U.S.C. § 1692a(6).
                                             15   16. This matter involves a “consumer credit transaction” i.e. a transaction between
                                             16      Plaintiff and Defendant (or their predecessor), in which property or money was
                                             17      acquired on credit primarily for personal, family, or household purposes. See
                                             18      Cal. Civ. Code § 1788.2(e) and 1788.2(f).
                                             19                              FACTUAL ALLEGATIONS
                                             20   17. Sometime prior to May 19, 2018, Plaintiff allegedly incurred financial
                                             21      obligations (the “Debt”) to a third party.
                                             22   18. These alleged obligations were for money, property or their equivalent, which is
                                             23      due or owing, or alleged to be due or owing, from a natural person to another
                                             24      person and are therefore a “debt” as that term is defined by California Civil
                                             25      Code §1788.2(d), and a “consumer debt” as that term is defined by California
                                             26      Civil Code § 1788.2(f) and § 1692a(5).
                                             27
                                             28
                                                  COMPLAINT                           PAGE 4          GIOMETTI V. ALLIED INTERSTATE, LLC
                                                  Case 3:19-cv-00276-JLS-MSB Document 1 Filed 02/07/19 PageID.5 Page 5 of 10



                                             1    19. Sometime thereafter, Plaintiff allegedly fell behind in the payments allegedly
                                             2       owed on the Debt. Plaintiff currently takes no position as to the validity of the
                                             3       Debt as it is irrelevant to this lawsuit.
                                             4    20. Subsequently, but still before May 19, 2018, the Debt was assigned, placed, or
                                             5       otherwise transferred to Defendant for collection.
                                             6    21. Prior to May 19, 2018, Plaintiff obtained representation form Attorney, Daniel
                                             7       G. Shay (“Attorney”).
                                             8    22. On or about May 19, 2018, at approximately 1:58 p.m., Defendant called
                                             9       Plaintiff from the telephone number (346) 998-2205, at which time Plaintiff
                                             10      notified Defendant’s representative of Plaintiff’s representation regarding the
                                             11      Debt.
                                             12   23. Nonetheless, Defendant persisted to contact Plaintiff directly to collect on the
22 21 C AMINO D EL R IO S OUTH S UITE 10 1




                                             13      Debt.
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                                             14   24. Knowing Plaintiff was represented by Attorney regarding the Debt, on May 19,
                                             15      2018, just minutes after being informed and aware of Plaintiff’s representation,
                                             16      at approximately 2:29 p.m., Defendant called Plaintiff again from the telephone
                                             17      number (346) 998-2205 in an attempt to collect on the Debt.
                                             18   25. Without the prior consent of the consumer given directly to the Defendant or the
                                             19      express permission of a court of competent jurisdiction, Defendant
                                             20      communicated with the consumer in connection with the collection of a debt

                                             21      when Defendant knew the consumer was represented by an attorney with respect

                                             22      to such debt and had knowledge of, or could have readily ascertained such
                                                     attorney’s name and address. Consequently, Defendant violated 15 U.S.C. §
                                             23
                                                     1692c(a)(2) and Cal. Civ. Code § 1788.17 by incorporation.
                                             24
                                                                              FIRST CAUSE OF ACTION
                                             25
                                                     VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                             26
                                                                                 15 U.S.C. § 1692, et seq.
                                             27
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                                                  COMPLAINT                             PAGE 5        GIOMETTI V. ALLIED INTERSTATE, LLC
                                                  Case 3:19-cv-00276-JLS-MSB Document 1 Filed 02/07/19 PageID.6 Page 6 of 10



                                             1    26. Plaintiff repeats, re-alleges, and incorporates by reference all of the above
                                             2         paragraphs of this Complaint as though fully stated herein.
                                             3    27. The foregoing acts and omissions by Defendants constitute violations of the
                                             4         FDCPA, including but not limited to the above-cited provision of the FDCPA,
                                             5         15 U.S.C. § 1692 et seq.
                                             6    28. As a result of each and every violation of the FDCPA, Plaintiff is entitled to any
                                             7         actual damages pursuant to 15 U.S.C. §1692k(a)(1); statutory damages in the
                                             8         amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable
                                             9         attorneys’ fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from Defendant.
                                             10                              SECOND CAUSE OF ACTION
                                             11             ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
                                             12                                    (ROSENTHAL ACT)
22 21 C AMINO D EL R IO S OUTH S UITE 10 1




                                             13                            CAL. CIV. CODE §§ 1788-1788.32
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                                             14   1.     Plaintiff repeats, re-alleges, and incorporates by reference, all other
                                             15          paragraphs.
                                             16   2.     The foregoing acts and omissions constitute violations of the RFDCPA,

                                             17          including but not limited to the above-cited provision of the Rosenthal Act,

                                             18          Cal. Civ. Code §§ 1788-1788.32
                                                  3.     As a result of each and every violation of the RFDCPA, Plaintiff is entitled to
                                             19
                                                         any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory
                                             20
                                                         damages for a knowing or willful violation in the amount up to $1,000.00
                                             21
                                                         pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorney’s fees and
                                             22
                                                         costs pursuant to Cal. Civ. Code § 1788.30(c) from Defendant.
                                             23
                                                                                  PRAYER FOR RELIEF
                                             24
                                                        WHEREFORE, Plaintiff respectfully prays that judgment be entered against
                                             25
                                                  Defendant, and Plaintiff be awarded damages from Defendant as follows:
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                                                  COMPLAINT                            PAGE 6          GIOMETTI V. ALLIED INTERSTATE, LLC
                                                  Case 3:19-cv-00276-JLS-MSB Document 1 Filed 02/07/19 PageID.7 Page 7 of 10



                                             1                              FIRST CAUSE OF ACTION
                                             2      VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT 15
                                             3                                    U.S.C. § 1692, et seq.
                                             4      •   An award of actual damages pursuant to 15 U.S.C. §1692k(a)(1);
                                             5      •   An award of statutory damages in the amount of $1,000.00 pursuant to 15
                                             6          U.S.C. § 1692k(a)(2)(A);
                                             7      •   An award of reasonable attorneys’ fees and costs pursuant to 15 U.S.C. §
                                             8          1692k(a)(3) from Defendant; and
                                             9      •   Any other relief this Court should deem just and proper.
                                             10                            SECOND CAUSE OF ACTION:
                                             11         VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION
                                             12                                    PRACTICES ACT
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                                             13                              Cal. Civ. Code § 1788, et seq.
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                                             14     •   An award of actual damages pursuant to California Civil Code § 1788.30(a);
                                             15     •   An award of statutory damages in the amount of $1,000.00 pursuant to Cal.
                                             16         Civ. Code § 1788.30(b);
                                             17     •   An award of costs of litigation and reasonable attorneys’ fees under Cal. Civ.
                                             18         Code § 1788.30(c); and
                                             19     •   Any other relief this Court should deem just and proper.
                                             20   ///
                                             21   ///
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                                                  COMPLAINT                           PAGE 7          GIOMETTI V. ALLIED INTERSTATE, LLC
                                                  Case 3:19-cv-00276-JLS-MSB Document 1 Filed 02/07/19 PageID.8 Page 8 of 10



                                             1                                       TRIAL BY JURY
                                             2          Pursuant to the Seventh Amendment to the Constitution of the United States
                                             3    of America, Plaintiff is entitled to, and demands, a trial by jury.
                                             4
                                             5    Date: February 7, 19                                  Hyde & Swigart, APC
                                             6
                                             7                                                   By: s/ Yana A. Hart
                                             8                                                          Yana A. Hart, Esq.
                                                                                                        yana@westcoastlitigation.com
                                             9                                                          Attorney for Plaintiff
                                             10
                                             11
                                             12
22 21 C AMINO D EL R IO S OUTH S UITE 10 1




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       H YDE & S WIG ART, APC

          S AN D IEGO , CA 92 10 8




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                                                  COMPLAINT                            PAGE 8           GIOMETTI V. ALLIED INTERSTATE, LLC
JS 44 (Rev. 12/12)
                     Case 3:19-cv-00276-JLS-MSB Document 1 Filed 02/07/19 PageID.9 Page 9 of 10
                                                                            CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                              DEFENDANTS
Todd Giometti                                                                                                Allied Interstate, LLC


    (b) County of Residence of First Listed Plaintiff             San Diego                                    County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
Yana A. Hart, Esq. Hyde & Swigart 619-233-7770
2221Camino Del Rio S., Ste. 101, San Diego, CA 92108                                                                                                  '19CV0276 JLS MSB

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                            and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF           DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1           ’ 1       Incorporated or Principal Place      ’ 4      ’ 4
                                                                                                                                                             of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2        ’    2   Incorporated and Principal Place     ’ 5      ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3        ’    3   Foreign Nation                       ’ 6      ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
           CONTRACT                                             TORTS                                    FORFEITURE/PENALTY                           BANKRUPTCY                     OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                 PERSONAL INJURY             ’ 625 Drug Related Seizure             ’ 422 Appeal 28 USC 158            ’   375 False Claims Act
’   120 Marine                       ’   310 Airplane                  ’ 365 Personal Injury -             of Property 21 USC 881           ’ 423 Withdrawal                   ’   400 State Reapportionment
’   130 Miller Act                   ’   315 Airplane Product                Product Liability       ’ 690 Other                                  28 USC 157                   ’   410 Antitrust
’   140 Negotiable Instrument                 Liability                ’ 367 Health Care/                                                                                      ’   430 Banks and Banking
’   150 Recovery of Overpayment      ’   320 Assault, Libel &                Pharmaceutical                                                   PROPERTY RIGHTS                  ’   450 Commerce
        & Enforcement of Judgment             Slander                        Personal Injury                                                ’ 820 Copyrights                   ’   460 Deportation
’   151 Medicare Act                 ’   330 Federal Employers’              Product Liability                                              ’ 830 Patent                       ’   470 Racketeer Influenced and
’   152 Recovery of Defaulted                 Liability                ’ 368 Asbestos Personal                                              ’ 840 Trademark                            Corrupt Organizations
        Student Loans                ’   340 Marine                          Injury Product                                                                                    ’   480 Consumer Credit
        (Excludes Veterans)          ’   345 Marine Product                  Liability                             LABOR                        SOCIAL SECURITY                ’   490 Cable/Sat TV
’   153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY            ’   710 Fair Labor Standards           ’   861 HIA (1395ff)               ’   850 Securities/Commodities/
        of Veteran’s Benefits        ’   350 Motor Vehicle             ’ 370 Other Fraud                      Act                           ’   862 Black Lung (923)                   Exchange
’   160 Stockholders’ Suits          ’   355 Motor Vehicle             ’ 371 Truth in Lending        ’   720 Labor/Management               ’   863 DIWC/DIWW (405(g))         ’   890 Other Statutory Actions
’   190 Other Contract                       Product Liability         ’ 380 Other Personal                   Relations                     ’   864 SSID Title XVI             ’   891 Agricultural Acts
’   195 Contract Product Liability   ’   360 Other Personal                  Property Damage         ’   740 Railway Labor Act              ’   865 RSI (405(g))               ’   893 Environmental Matters
’   196 Franchise                            Injury                    ’ 385 Property Damage         ’   751 Family and Medical                                                ’   895 Freedom of Information
                                     ’   362 Personal Injury -               Product Liability                Leave Act                                                                Act
                                             Medical Malpractice                                     ’   790 Other Labor Litigation                                            ’   896 Arbitration
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’   791 Employee Retirement              FEDERAL TAX SUITS                ’   899 Administrative Procedure
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:                       Income Security Act            ’ 870 Taxes (U.S. Plaintiff                Act/Review or Appeal of
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                                                         or Defendant)                       Agency Decision
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                               ’ 871 IRS—Third Party              ’   950 Constitutionality of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                               26 USC 7609                         State Statutes
’   245 Tort Product Liability               Accommodations           ’ 530 General
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from               ’ 6 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District                   Litigation
                                                                                                                                (specify)
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                          15 U.S.C. § 1692 et seq. ("FDCPA")
VI. CAUSE OF ACTION Brief description of cause:
                                          Defendant violated the Fair Debt Collection Practices Act
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                  DEMAND $                                      CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                          75,000.00                                   JURY DEMAND:         ’ Yes     ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                                DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
02/07/2019                                                              s/ Yana A. Hart
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                              MAG. JUDGE

                 Print                               Save As...                                                                                                                      Reset
               Case 3:19-cv-00276-JLS-MSB Document 1 Filed 02/07/19 PageID.10 Page 10 of 10
JS 44 Reverse (Rev. 12/12)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
         sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
         one nature of suit, select the most definitive.

V.       Origin. Place an "X" in one of the six boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407.
         When this box is checked, do not check (5) above.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
